                         Case 3:17-cv-00621-KAD Document 1-12 Filed 04/13/17 Page 1 of 2


David J. Dino

From:                                     Danielle Wisniowski <dwisniowski@cartermario.com>
Sent:                                     Friday, February 24, 2017 2:19 PM
To:                                       David J. Dino
Subject:                                  RE: Nellina Guerrera matter - Aetna MAO Lien


Because I don’t recognize the validity of your proposed “lien”, I do not have to provide you with any further information.

Thank you,




From: David J. Dino [mailto:DDino@HarrisBeach.com]
Sent: Friday, February 24, 2017 2:08 PM
To: Danielle Wisniowski <dwisniowski@cartermario.com>
Cc: Brian A. Bender <Bbender@HarrisBeach.com>
Subject: RE: Nellina Guerrera matter - Aetna MAO Lien

Have you already disbursed the settlement funds to your client?




David J. Dino
Associate


HARRIS BEACH PLLC
ATTORNEYS AT LAW
100 Wall Street
New York, NY 10005
212.313.5484 Direct
212.687.0659 Fax
212.687.0100 Main
Website | Bio | Add to Contacts


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From: Danielle Wisniowski [mailto:dwisniowski@cartermario.com]
Sent: Friday, February 24, 2017 2:05 PM
To: David J. Dino
Subject: RE: Nellina Guerrera matter - Aetna MAO Lien

Mr. Dino,

                                                                 1
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My position remains unchanged since my December 28, 2016 letter.

Sincerely,




From: David J. Dino [mailto:DDino@HarrisBeach.com]
Sent: Friday, February 24, 2017 12:46 PM
To: Danielle Wisniowski <dwisniowski@cartermario.com>
Cc: Brian A. Bender <Bbender@HarrisBeach.com>
Subject: Nellina Guerrera matter - Aetna MAO Lien

Ms. Wisniowski,

We have not received a response to the attached January 11 letter, or received any return call to the multiple messages I
have left with your office the last few weeks. Please provide a response to this letter and let us know if the settlement
funds are being held in escrow or whether they have already been disbursed to your client. We continue to reserve our
right to seek reimbursement, including the potential for collection of double damages, against Ms. Guerrera, the Carter
Mario firm, and Big Y Foods.

Regards,
DJ



David J. Dino
Associate


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